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   7                        UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
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  10 BRIAN TRENZ, FRANCIS                     Case No. 2:15-CV-08356-JLS-KS
     BREIDENBACH, CAITLYN
  11
     FARRELL, and NOELLE SIMMS, on
  12 behalf of themselves and all others
     similarly situated,
  13
  14              Plaintiffs,
  15                                          Corrected Order Setting Deadline to
            v.
  16                                          File Motions in Limine to May 6,
       ON-LINE ADMINISTRATORS, INC.           2022 and setting Final Pretrial
  17
       dba PEAK PERFORMANCE                   Conference for June 10, 2022
  18   MARKETING SOLUTIONS, a
  19   California Corporation;
       VOLKSWAGEN GROUP OF
  20   AMERICA, INC., a New Jersey
  21   Corporation; and DOES 1-5,

  22              Defendants.
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   1        The Court, having read and considered the Parties’ Stipulation to Amend
   2 Scheduling Order (Doc. 259), and finding good cause therefore, HEREBY
   3 ORDERS that the dates set in the May 21, 2021 Scheduling Order for the deadline
   4 to file Motions in Limine and the date of the Final Pretrial Conference (the
   5 “Matters”) are vacated. The deadline to file Motions in Limine is set to May 6,
   6 2022, and the Final Pretrial Conference is set for June 10, 2022, at 10:30 a.m.
   7        IT IS SO ORDERED.
   8
   9 DATED: December 09, 2021
  10
                                        JOSEPHINE L. STATON
                                      _________________________________________
  11                                  HON. JOSEPHINE L. STATON
                                      UNITED STATES DISTRICT JUDGE
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